        Case 1:18-cr-00212-AJN Document 164 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                   11/5/2020


United States of America,


               –v–                                                          18-cr-212 (AJN)

                                                                                ORDER
Tyrone Woolaston,

                      Defendant.



ALISON J. NATHAN, District Judge:

       The sentencing hearing scheduled for today is adjourned to December 2, 2020, at 1:00

p.m.

       SO ORDERED.

Dated: November 5, 2020                         __________________________________
       New York, New York                                ALISON J. NATHAN
                                                       United States District Judge
